Ballot

Settlement Agreement
Oenga v. US et al CFC #06-491L

By this Ballot the undersigned Plaintiffs in Oenga v. US et al. formally vote their
acceptance or rejection of the attached Term Sheet. The undersigned agree to sign the
Settlement Agreement, Lease Amendment and new Lease referred to in the Term Sheet when
those documents are finalized and our attorney Raymond C. Givens advises accordingly.

Each Plaintiffs undivided interest percentage share in Allotment F-14632 is shown in the
attached BLA document. By their signature, each Plaintiff verifies that they have reviewed the
attached documents, understand its contents and have made their determination after obtaining
the advice of counsel, of their own free, without any duress or improper influence.

All signatories understand that by accepting this Settlement Agreement, they will forever
surrender their right to recover on claims regarding their Allotment F-14632 Parcel B under
Lease F-89-01, as amended, that they have asserted or might assert, including those asserted in
Oenga v. US et al CFC #06-491L, other than as set out in the attached Settlement Agreement.

Accept

Reject

Signature

Confidential Document
Case No. 3:23-cv-00121-HRH

G-001239

Not to be copied or disclosed except as provided in the Confidentiality Agreement

Exhibit Q
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